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6    STEFAN LAMAR MILLER
7
8                                 IN THE UNITED STATES DISTRICT COURT
9                              FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                       )   NO. 1:10-CR-00500 OWW
                                                     )
12                         Plaintiff,                )   ORDER GRANTING MOTION TO TRAVEL
                                                     )   FOR STEFAN MILLER
13          v.                                       )
                                                     )
14   STEFAN LAMAR MILLER,                            )   Time:
                                                     )   Judge: Hon. Oliver W. Wanger
15                         Defendant.                )
                                                     )
16                                                   )
17
18                                           ORDER FOR TRAVEL
19          Having heard Defendant Stefan Miller’s motion to travel on February 28, 2011, and after having
20   given said motion due consideration,
21          IT IS HEREBY ORDERED that the Motion to Travel is GRANTED. Stefan Lamar Miller will
22   travel to Los Angeles, California on March 3, 2011 to regain physical custody of his eight year old
23   daughter. The regaining of custody will be with the aid and assistance of the Sheriff’s Department.
24          On the evening of March 3, 2011, Stefan Miller will reside at the residence of his mother, Donna
25   Woody, in Pacoima, California.
26          On March 4, 2011, Stefan Miller will return to his residence in Sacramento, California.
27   ///
28   ///
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1              All remaining conditions of pre-trial release previously ordered shall remain in full force and
2    effect.
3
4    IT IS SO ORDERED.
5    Dated: March 2, 2011                                /s/ Oliver W. Wanger
     emm0d6                                         UNITED STATES DISTRICT JUDGE
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     Order Granting
     Motion to Travel for Stefan Miller                    -2-
